

People v Paltoo (2019 NY Slip Op 05795)





People v Paltoo


2019 NY Slip Op 05795


Decided on July 24, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 24, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

RUTH C. BALKIN, J.P.
CHERYL E. CHAMBERS
JEFFREY A. COHEN
BETSY BARROS
FRANCESCA E. CONNOLLY, JJ.


2017-12318

[*1]The People of the State of New York, respondent,
v Ian Paltoo, appellant. (S.C.I. No. 1913/17)


Paul Skip Laisure, New York, NY (Samuel R. Feldman of counsel), for appellant.
John M. Ryan, Acting District Attorney, Kew Gardens, NY (John M. Castellano, Johnnette Traill, and William H. Branigan of counsel; Lorrie A. Zinno on the memorandum), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Queens County (Gia Morris, J., at plea; Suzanne Melendez, J., at sentence), imposed October 2, 2017, upon his plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
Contrary to the defendant's contention, the record demonstrates that he knowingly, voluntarily, and intelligently waived his right to appeal (see People v Bryant, 28 NY3d 1094; People v Batista, 167 AD3d 69, 75 n 1; People v Payton, 109 AD3d 940; People v Edmunson, 109 AD3d 621, 622; People v Pelaez, 100 AD3d 803, 803-804). The defendant's valid waiver of his right to appeal precludes appellate review of his contention that the sentence imposed was excessive (see People v Bradshaw, 18 NY3d 257, 265; People v Ramos, 7 NY3d 737, 738; People v Lopez, 6 NY3d 248, 255).
BALKIN, J.P., CHAMBERS, COHEN, BARROS and CONNOLLY, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








